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                     EXHIBIT 6
                 LeaseWeb Network
                     Map 2015
    LeaseWeb Network Map 2015
                                                                                                                                   Case 2:15-cv-01673-JCM-GWF Document 22-6 Filed 02/08/16 Page 2 of 2




                                                                                                                                                                                                                                                                                                                                                   v.1.1
     IX Internet Exchange
     DC Data Center
                                                                                                                                                                                                                AMS-01 / IXs AMS-IX, NL-IX
                                                                                                                                                                                                                DC address J.W. Lucasweg 35, 2031BE Haarlem
                                                                                                                                                                                                                AMS-02 / 2015 Expansion plan
                                                                                                                                                                                                                AMS-10 / Telecity AMS-2 / IX AMS-IX
                                                                                                                                                                                                                DC address Kuiperberg weg 13, 1101AE Zuidoost
                                                                                                                                                                                                                AMS-11 / Schuberg Philis
                                                                                                                                                                                                                DC address Boeing Avenue 271, 1119PD Schiphol-Rijk
                                                                                                                                                                                                                AMS-12 / Easynet
                                                                                                                                                                                                                DC address Capronilaan 2, 1119NR Schiphol-Rijk
                                                                                                                                                                                                                AMS-13 / Capgemini
                                                                                                                                                                                                                                                                     OSLO
                                                                                                                                                                                                                AMS-14 / Equinix AM1/AM2                              OSL-10 / NIX1
                                                                                                                                                                                                                AMS-15 / euNetworks                                   IX NIX                              STOCKHOLM
                                                                                                                                                                                                                AMS-16 / Global Switch                                                                    STO-10 / Telecity
                                                                                                                                                                                                                AMS-17 / Interoute                                                                        IX NETNOD.STHIX
                                                                                                                                                                                                                AMS-18 / Interxion 1,2,4
                                                                                                                                                                                                                AMS-19 / Interxion 3

                                                                                                                                       TORONTO                                                                  AMS-20 / KPN Cyber center
                                                                                                                                                                                                                AMS-21 / NIKHEF
                                                                                                                                       TOR-10 / Equinix TR1
                                                                                                                                       IX Tor-IX                                                                AMS-22 / Rembrandt Toren
                                                                                                      CHICAGO                                                                                                   AMS-23 / Vancis (SARA)                                       COPENHAGEN
               PALO ALTO                                                                              CHI-10 / Equinix CH1                                                                                      AMS-24 / Telecity 1 AMS1                                     CPH-10 / Globalconnect
                SFO-10 / Equinix SV8                                                                  IX Equinix                                                                                                AMS-25 / Telecity 3 AMS3                                     IX DIX
                IX Equinix
                                                                                                                                                                                                                AMS-26 / Viatel
                                                                                                                                                                                                                AMSTERDAM                                                                                                 WARSAW
                                                                                                                                                                                                                                                                                                                          WAR-10 / TeleCity Warsaw1 (LIM)
                                                                                                                                                      NEW YORK                                LONDON                                                             DÜSSELDORF
                                                                                                                                                                                                                                                                                                                          IX PLIX
SAN JOSE                                                                                                                                              NYC-10 / Equinix NY9                    LON-10 / Telehouse North
                                                                                                                                                                                                                                                                 DUS-10 / Interxion
SFO-11 / Equinix SV1                                                                                                                                  IXs NYIIX, AMS-IX                       IXs LINX, LONAP
                                                                                                                                                                                                                  BRUSSELS                                       IX E-CIX                                                                    KIEV
IX Equinix
                                                                                                                                                                                                                                                                                                                                             KBP-10
SFO-12 / Equinix SV3                                                                                                                                                                                              BRU-10 / Interxion
                                                                                                                                                                                                                                                                                                                                             IX DTEL
DC address 1735 Lundy Ave.San José                                                                                                                                                                                                     LUXEMBOURG                                                                     BRATISLAVA
                                                                                                                                         WASHINGTON D.C.                                                                               LUX-10 / eBRC Windhof                     PRAGUE                               BTS-10 / STU
                              LOS ANGELES                                                                                                 WDC-01 / EvoSwitch WDC-1
                                                                                                                                                                                                        PARIS                          IX LU-CIX                                 PRA-10 / CE Colo (Sitel-Telehouse)   IX SIX

                              LAX-10 / Coresite One Wilshire                   DALLAS                  ATLANTA                            DC address 9651 Hornbaker Road Manassas, VA 20109             PAR-10 / Telehouse 2               FRANKFURT                             IXs NIX.CZ, Peering.CZ
                              IX ANY2                                                                  ATL-10 / Equinix AT2                                                                             IX FRANCE-IX
                                                                               DAL-10 / Equinix DA1    IX TIE
                                                                                                                                          WDC-10 / Equinix DC2 / IX Equinix                                                           FRA-10 / IX DE-CIX
                                                                                                                                                                                                                                                                     ZURICH                              VIENNA
                                                                               IX EQUINIX                                                 WDC-11 / Equinix DC4 / IX Equinix                                                    DC address Kleyerstr. 79– 89,
                                                                                                                                                                                                                                   60326 Frankfur t am Main          ZRH-10 / ZH1 Equinix                 VIE-10 / Interxion   BUDAPEST
                                                                                                                                                                                                                                                                     IX SWISS-IX                          IX VIX               BUD-10 / IX BIX
                                                                                                                                                                                                                                             FRA-11 / Telecity                                                                 BUD-11 / Dataplex
                                                                                                                                                                                                                                            FRA-12 / Interxion
                                                                                                                        MIAMI
                                                                                                                        MIA-10 / Terremark Nap Of The Americas (NOTA)
                                                                                                                                                                                                                               FRA-13 / Equinix FR5 (Ancotel)
                                                                                                                                                                                                                                                                   MILAN
                                                                                                                        IX NOTA                                                                                                                                    MXP-10 / Via Caldera
                                                                                                                                                                                                                                                                   IX MIX
                                                                                                                                                                                                                                                                                                                           BUCHAREST
                                                                                                                                                                                                                                                                                                                           BUC-10 / NXDATA
                                                                                                                                                                                                                                                                                                                           IX Interlan
                                                                                                                                                                                                        MADRID
                                                                                                                                                                                                         MAD-10 / Espanix
                                                                                                                                                                                                         IX Espanix




                                                        HONG KONG




                                                                                                                                                          5.0 Tbps 58 PoPs
                                                        HKG-10 / PANNET HKCS2
                                                        DC address 11 Chun Kwong Street, Tseung Kwan O Industrial
                                                        Estate, New Territories, Hong Kong
                                                        HKG-11 / 1 Mega-I




                                                                                                                                                           Bandwidth Capacity                                                               Worldwide

                                                                                                                                                          2.5 Tbps 4213
                                        SINGAPORE
                                        SIN-10 / Equinix SG1
                                        SIN-11 / Pacnet SGCS2
                                        DC address 110 Paya Lebar, Singapore




                                                                                                                                                           Peak Traffic                                                                     Unique BGP Neighbors

                                                                                                                                                          36 IXs 10GE &100GE
                                                                                                                                                           Presence in 21 Countries                                                         Uplinks
